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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


In re:                                    )
                                          ) Bankruptcy Case
DAGMAR I. KERN                            ) No. 18-13273-BFK
and                                       )
HANS P. KERN,                             )
                                          )
                  Debtors.                ) Chapter 7
__________________________________________)
LEHMAN XS TRUST MORTGAGE                  )
PASS-THROUGH CERTIFICATES, SERIES         )
2006-GP2, U.S. BANK NATIONAL              )
ASSOCIATION, AS TRUSTEE,                  )
                                          )
                  Movant,                 )
                                          )
v.                                        )
                                          )
DAGMAR I. KERN                            )
and                                       )
HANS P. KERN,                             )
                                          )
                  Debtors,                )
                                          )
and                                       )
                                          )
H. JASON GOLD,                            )
                                          )
                  Trustee,                )
                                          )
                  Respondents.            )

TRUSTEE’S RESPONSE AND OPPOSITION TO MOTION FOR RELIEF FROM STAY

         COMES NOW, H. Jason Gold, the chapter 7 trustee (“Trustee”), and files this response

and opposition to the Motion for Relief from Automatic Stay (the “Motion”), stating to the Court

H. Jason Gold, Va. Bar No. 19117
101 Constitution Avenue, NW, Suite 900
Washington, DC 20001
(202) 689-2800
Trustee
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as follows:

       1.      As reflected on Schedule A, the Debtor owns real property commonly identified

as 15238 Louis Mill Drive, Chantilly, Virginia 20151 (the “Property”).

       2.      The Section § 341 Meeting of Creditors is scheduled for November 5, 2018.

Until such time as the Trustee completes his investigation of the value of the Property and

validity of the liens asserted against the Property, the Trustee opposes the relief from the

automatic stay sought in the Motion.

       3.      The Trustee lacks sufficient information to form a response to the allegations in

the Motion that cause exists to grant the relief sought in the Motion and therefore denies the

same and demands strict proof.

       4.      UPON THE TRUSTEE’S FILING OF A REPORT OF NO DISTRIBUTION,

THE MOVANT AND THE COURT MAY DEEM THE TRUSTEE’S OPPOSITION AS

WITHDRAWN AND GRANT WHATEVER RELIEF THE COURT DEEMS APPROPRIATE.

       WHEREFORE, having responded to the Motion, the Trustee prays (i) that the Court

continue the hearing on the Motion until such time as the Trustee has had a chance to assess the

value of the subject collateral and validity of the liens asserted against the subject collateral; (ii)

that in the event that the Trustee files a Report of No Distribution, that the Trustee’s opposition

be deemed withdrawn; and (iii) for such other and further relief as may be necessary.


                                               Respectfully submitted,

                                               H. JASON GOLD, TRUSTEE




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H. JASON GOLD, TRUSTEE
101 Constitution Avenue, NW, Suite 900
Washington, DC 20001
Telephone: (202) 712-2800
Facsimile: (202) 712-2860


By:    /s/ H. Jason Gold
       H. Jason Gold, Va. Bar No. 19117

Chapter 7 Trustee


                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 11th day of October 2018 the foregoing Trustee’s
Response and Opposition to Motion for Relief from Stay was served via Notice of Electronic
Filing CM/ECF and pursuant to applicable Standing Order upon:

       Mary F. Balthasar Lake
       SHAPIRO & BROWN, LLP
       501 Independence Parkway, Suite 203
       Chesapeake, VA 23320

       Office of the US Trustee
       1725 Duke Street, Ste. 650
       Alexandria, VA 22314

       Robert R. Weed
       LAW OFFICES OF ROBERT WEED
       1376 Old Bridge Rd Suite 101-4
       Woodbridge, VA 22192

       Dagmar I Kern
       15238 Louis Mill Dr
       Chantilly, VA 20151-1317

       Hans P Kern
       15238 Louis Mill Dr
       Chantilly, VA 20151-1317

                                                  /s/ H. Jason Gold
                                                  H. Jason Gold

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